                                                  Case 1:18-cv-12080-NMG Document 1-1 Filed 10/05/18 Page 1 of 14

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                                                                        CONTRACT - HQUjTARLF. RELIEF - OTtifCR.)



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                                   iSSliX, ss.                                                                                                    SUPERIOR. COURT
                                                                                                                                                  CIVJI. ACTION "

                                                                                                                                                  No 10                        1^9^
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                                plaintiffb; attorney, whose address is.     XT-                        IAJv.uT U. /7VK ^Iv^Olo^/fVlais answer                            - to the

                                complaint which is herewith served nponyaw, within. 20 days after service of this simnnoiis upon yon, exclusive of the
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                                day of service. If yon fail to do wo, jndgmenC by defauff. will be taken. -agaijisl. yon. for the relrd" demanded in the.
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 SI                             complaint. Yon arc. also requit ed, to file your answer to the compla int, in the office of the Clerk of this court at
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                                                                      either before service upon plaintiff's attorney or within a reasonable time thereafter.

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 S .£                             Unless otherwise provided by '.Rule 13 (a.), your answer most state as a con.aterclaim. any claim which you may
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                            have against the plaintiff which arises out of (ho transaction or occurrence that is the subject matter of the plaintiffs
                            claim or you will thereafter be barred from making such, claim in any other action.



                                                                         VvTl'.N.ESS, Judith Fabricant, Esquire, a( Salem, the
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                           NOTES:                  .
                           I,    This siunmoas is issued pursuant to Rule. 4 of the Massachusetts Rules of Civil Procodiue.
                           ,2. When, more th.aa one defendaut is involved, the lumies of all defendants1 should appear i.n the captiou. If a separate snraraons is used for each
                                  defendant, each shonld be acidressod to the. fiarlicular defendant.
       Case 1:18-cv-12080-NMG Document 1-1 Filed 10/05/18 Page 2 of 14
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the within srrmrnons, togelher witli a. copy of the ooniplarnt in. tijis aetion, npon (lie within .m nncd
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      Case 1:18-cv-12080-NMG Document 1-1 Filed 10/05/18 Page 3 of 14




                            COMMONWEALTH OF MASSACHUSETTS

                                                    SUPERIOR COURT DEPARTMENT
ESSEX, ss.
                                                    OF THE TRIAL COURT
                                                    CASE NO.:




ROBERT D. BEAUPRE,

               Plaintiff,


       v.




SEACOAST SALES, INC. and JOHN
HADDAD,

               Defendants,
                                             1

                                         COMPLAINT

                                                                   ins against defendants
       Plaintiff Robert D. Beaupre (the "Plaintiff') hereby compla

                                                              dants") as follows:
Seacoast Sales, Inc. and John Haddad (collectively, the "Defen

                                            PARTIES

                                                                               and resides at 37
        1.     Plaintiff Robert D. Beaupre ("Mr. Beaupre") is a natural person

 Francesca Drive, Lynn, MA 01904,

                                                                              ation with a place
        2.      Defendant Seacoast Sales, Inc, ("Seacoast") is a Maine corpor


 of business at 59 Middle Street, Portland, ME 04101.

                                                                              d") is a natural
        3.      Upon information and belief, defendant John Haddad ("Mr. Hadda

                                                              with a place of business at 59
 person and the owner and chief executive officer of Seacoast

 Middle Street, Portland, ME 04101.
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                                    JURISDICTION AND VENUE

                                                                                      ination with
        4.         On or around April 5, 201 8, Mr, Beaupre filed a Charge of Discrim

                                                              ninety (90) days prior to the
the Massachusetts Commission Against Discrimination more than

filing of this Complaint,

                                                                                         § 9 and G, L,
        5.         The Court has jurisdiction over this matter pursuant to G. L. c. 151,

c. 212, § 4.


        6.         Venue is proper in this Court pursuant to G. L, c. 223, § I.

                                                 FACTS                     '

                            Mr. Beaupre's Relationship with Mr, Haddacl

                                                                                    forty (40) years
        7.         Mr, Beaupre is a sixty-seven (67) year old salesperson with over


of experience in the food and meat retail industry,

                                                                               es Enterprises
         8.        From May 1973 to October 2016, Mr. Beaupre worked for Demak

                                                                meat and deli
and Old Neighborhood Foods ("Old Neighborhood"), a family-owned

                                                          ing as a route salesman, Mr.
manufacturer headquartered in Lynn, Massachusetts. Beginn

                                                            the Vice President of Retail
Beaupre rose through Old Neighborhood's ranks and was named

 Sales in 1999, a position he held until November 201 6.

                                                                                       (20) years to
         9.         Mr, Beaupre and Mr, Haddad's relationship dates back nearly twenty

 Mr. Beaupre's time at Old Neighborhood.

                                                                                       in the
         10.        In fact, it was Mr. Beaupre who provided Mr. Haddad with his start

                                                                   ts, including Hannaford's
 industry. At the outset, Mr. Beaupre helped seemed certain accoun

                                                             for Seacoast and Mr. Haddad.
 Supermarkets, Cedar's Mediterranean Foods and Cooper Farms,

                                                                                     Mr. Beaupre
             11.    In 2013, Mr. Haddad offered Mr. Beaupre a job at Seacoast, which

 declined.
       Case 1:18-cv-12080-NMG Document 1-1 Filed 10/05/18 Page 5 of 14




                                                                           d Mr. Beaupre, this
       12.     About one (1) year later, Mr. Haddad once again propositione

                                                          to Seacoast. Mr. Beaupre accepted Mr,
time offering Mr. Beaupre a role as an outside consultant

                                                        ast.
Haddad's offer and began consulting part-time for Seaco

                             Mr. Beaupre's Employment at Seacoast

                                                                        re a job at Seacoast,
        13.    In the summer of 2016, Mr. Haddad again offered Mr. Beaup

                                                           d Mr. Beaupre the opportunity to
this time as Scacoasfs Director of Sales. That role offere

                                                        which spanned the East Coast from
manage and oversee all of Seacoast's sales operations -

Maine to North Carolina, 1
                                                                         re a yearly salary of
        14.    In exchange for his services, Mr. Haddad offered Mr. Beaup

                                                         pound for any tonnage sold over and
$ 1 10,000.00 and a commission rate of two (2) cents per

                                                           yearly salary. The offer also called
above the amount necessary to cover, on a gross basis, his

                                                           to which Seacoast would make
for Mr. Beaupre to participate in Seacoast's 401 (k) plan,

                                                       offer also Included full payment of Mr.
 contributions in the yearly amount of $11,000.00. The

                                                          ast's health insurance plan.
 Beaupre and. his family's health insurance through Seaco

                                                                              on or around
         15.    In reliance upon the substantial benefits of the opportunity,

                                                         Haddad's offer and left Old
 November 1, 2016, Mr. Beaupre accepted Seacoast and Mr.

 Neighborhood to become Seacoast's Director of Sales.

                                                                           ts and relationships he
         16.    As Seacoast's Director of Sales, Mr. Beaupre, using contac

                                                              ned Seacoast to conduct business
 amassed over his four-decade tenure in the industry, positio




                                                                tts employee of Seacoast. He
  1      At all times pertinent, Mr. Beaupre was a Massachuse
                                                           his home office in Lynn, Massachusetts.
  generally performed his responsibilities and duties from
                                                           tts visiting clients to review sales
 Mr. Beaupre also routinely traveled throughout Massachuse
                                                              .
  data and conducting sales meetings with prospective clients
                                                  3
       Case 1:18-cv-12080-NMG Document 1-1 Filed 10/05/18 Page 6 of 14




                                                                                Shaw' s
with some of the largest retail chains in the country, including Market Basket,

Supermarkets, Hannaford's Supermarkets and BJ's Wholesale Club.

        17.    Mr. Beaupre also managed numerous other accounts, including an account with

Schreiber Foods, that grossed a substantial portion of Seacoast's revenue.

        18.      Mr. Beaupre continuously received positive feedback on his job performance

from Mr. Haddad and never received a negative performance review.

              Seacoast and Mr. Haddad's Discriraination Against Mr. Beaupre


        19.      Approximately one (1) year after Mr, Beaupre was hired, Mr. Haddad began to

                                                                                regard to Mr,
express concern about Mr. Beaupre's employment with Seacoast, specifically with

Beaupre's age.


        20.      On or around November 1, 2017, Mr. Haddad approached Mr. Beaupre and stated

                                                                                       the
that the total costs of Seacoast's health insurance were increasing, Mr. Haddad blamed

                                                                            sixty-six (66) years
increase in costs solely on Mr. Beaupre's age. At the time, Mr. Beaupre was

old,

        21.      During that same conversation, Mr. Haddad, citing the effect of Mr. Beaupre's

                                                                               cover Mr. Beaupre
 age on Seacoast's health insurance plan, stated that Seacoast would no longer

 and his family under Seacoast's plan as previously agreed to.

        22.      Mr. Haddad further stated that Seacoast would not cover any of the cost of Mr.

                                                                                    e plan. As a
 Beaupre's health insurance unless Mr. Beaupre, due to his age, switch to a Medicat

                                                                             re plan, despite the
 result of Mr. Haddad's demand, Mi*. Beaupre reluctantly switched to aMedica

 agreement to the contrary.
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                                                             with a separate monthly check in
       23 .     Thereafter, Mr. Haddad presented Mr, Beanpre
                                                                                           r
                                           the cost of Mr. Beaupre's health insurance unde
the approximate amount of $785,00 to cover

the Medicare plan.

                                                                   Mr. Beaupre with a check for
       24.      On at least one (1) occasion, Mr. Haddad presented

                                                payment as an "Auto Allowance." Not once
the health insurance payment and described such

                                                to a Medicare plan did Seacoast or Mr. Haddad.
prior to or after forcing Mr. Beaupre to switch

                                            reimbursement.
pay Mr, Beaupre any automobile allowance or

                                                                  h to a Medicare plan, Mr.
        25.     Not long after Haddad forced Mr. Beaupre to switc

                                                    Beaupre's age on Seacoast - this time with
Haddad once again took issue with the effect of Mr.

regards to Seacoast' s 401(k) plan.

                                                                   ad and inquired as to when
        26.      On this occasion, Mr. Beaupre approached Mr. Hadd

                                              n from Seacoast pursuant to tire agreement.
he would receive his yearly 401(k) contributio

                                                                        due to his age, Mr.
        27.          In response Mr. Haddad expressed his concern that,

                                             s 401(k) contributions at any time.
 Beaupre would be able to withdraw Seacoast'

                                                                not participate in Seacoast's
        28.      Mr, Haddad then told Mr, Beaupre that he could

                                               any contribution to him.
 401 (k) plan and that Seacoast would not make

                                                               to participate in Seacoast's
         29.     In fact, Mr, Haddad never allowed Mr. Beaupre

                                               contribution to Mr. Beaupre because of his age.
 401 (k) plan and Seacoast never made a 401{k)

                                                              revoked and rescinded the
         30.     Around the same time Mr, Haddad and Seacoast

                                                   pre's employment due to his age, Seacoast hired
  agreed-to privileges and conditions of Mi', Beau

                                               tely twenty (20) years Mr. Beaupre's junior.
 Mr, Haddad's brother-in-law, who was approxima

                                                                in Massachusetts and performed
          31.     Mr, Haddad's brother-in-law was also employed
                                                                                                n
                                                 pre. In fact, Mr. Haddad's brother-in-law bega
  similar responsibilities and duties to Mr. Beau
       Case 1:18-cv-12080-NMG Document 1-1 Filed 10/05/18 Page 8 of 14




                                                                    in place of Mr,
meeting with Mr. Haddad and accompanying Mr, Haddad on sales visits

Beaupre.

                                                                                      to pay
       32.    On or around January 5, 2018, and after Seacoast and Mr. Haddad refused

                                                                        to Mr. Beaupre's
Mr. Beaupre and his family's health insurance and to make contributions

                                                                    employment, In
401(k) pursuant to the agreement, Seacoast terminated Mr. Beaupre's

                                                                    "changing directions" and
terminating Mr. Beaupre, Mr. Haddad simply stated that Seacoast was

that Mr. Beaupre's services were no longer needed.

                                                                                        his
       33.     Mr. Beaupre was sixty-six (66) years old at the time Seacoast terminated

employment

                                                                                e was on the
       34.     At the time Mr. .Beaupre's employment was terminated, Mr. Beaupr

                                                                         st would not have had
verge of closing two (2) significant new accounts - accounts that Seacoa

access to without Mr. Beaupre.

                                                                               ed, and was
        35.    Immediately before Mr, Beaupre was terminated, Seacoast submitt

                                                                   and one-half (2.5) million
negotiating, a proposal to BJ's Wholesale Club for the sale of two

                                                                       submitted a proposal to
pounds of ham with a gross sales price of $6,000,000.00. Seacoast also

                                                                    for the sale of millions of
BJ's Wholesale Club one (1) week prior to Mr. Beaupre's termination

pounds of cheese.

                                                                                     sale with
        36.    Mr. Beaupre was on also the verge of closing a ten (10) million-pound

                                                                        201 8 with
 Market Basket. In fact, Mr. Beaupre had scheduled a meeting in January

                                                                      ted before the meeting
 representatives from Market Basket; however, Mr. Beaupre was termina

                                                                   (1) week prior to Mr.
 occurred. Seacoast also submitted a proposal to Market Basket one

 Beaupre's termination for the sale of millions of pounds of cheese.
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                                                                                  Wholesale Club or
          37.       Seacoast and Mr. Haddad did not have a relationship with BJ's

                                                            and the foregoing opportunities
Market Basket prior to Mr. Beaupre's employment at Seacoast

were solely a result of Mr. Beaupre 's efforts.

                                                                                Club and Market
          38.       Upon information and belief, Seacoast and/or BJ's Wholesale

                                                        ents.
Basket entered into one (1) or more of the above agreem

                                                                           denied due to
          39.       Upon termination, Mr, Beaupre's unemployment claim was

                                                            as required by law.
Seacoast's failure to pay Massachusetts unemployment taxes,

                                                   COUNT I
                                                                         L. c. 151B, § 4)
                  (Discrimination on the Basis of Age in Violation of G.
                                           (Against Seacoast)

                                                                                as if fully set forth
          40.       Mr. Beaupre repeats and realleges the foregoing allegations

herein.

                                                                                     yer in the private
          43 .       G. L. c. 1 5 IB, § 4 provides that it is unlawful for "an emplo

                                                                  ual, to refuse to hire or employ
sector, by himself or his agent, because ofthe age of any individ

                                                            or to discrimination against such
 or to bar or to discharge from employment such individual,

                                                                  of employment . . . ." Mass.
 individual in compensation or in terms, conditions or privileges

 Gen. L. c. 151B, § 4(1B) (2018).

                                                                                re in the terms and
           42.       As alleged herein, Seacoast discriminated against Mr. Beaup

                                                           allow Mr. Beaupre to participate in
 conditions of his employment with Seacoast by refusing to

                                                             Mr. Beaupre to' enroll in a Medicare
 Seacoast's health insurance plan as agreed to and requiring

 plan.

                                                                                  and conditions of
           43 .      Seacoast also discriminated against Mr. Beaupre in the terms

                                                            re to participate in Seacoast's
 his employment with Seacoast by refusing to allow Mr. Beaup

 401(k) plan as agreed to.



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       Case 1:18-cv-12080-NMG Document 1-1 Filed 10/05/18 Page 10 of 14




                                                                      and replaced him with Mr.
       44.          Seacoast also terminated Mr. Beanpre's employment

                                                     y (20) years Mr. Beaupre's junior.
Haddad's brother-in-law, who was approximately twent

                                                                       of, Mr. Beaupre were solely a
          45.       Seacoasf s discrimination against, and termination

result of Mr. Beanpre's age.

                                                                               ed, and will continue to
          46.       As a result of Seacoast's actions, Mi'. Beaupre has suffer

suffer, damages.

                                               COUNT II
                                                                   of G. L, c. 151B, § 4)
                  (Discrimination on the Basis of Age in Violation
                                         (Against Mr. Haddad)

                                                                           tions as if fully set forth
          47.       Mr. Beaupre repeats and realleges the foregoing allega

herein.

                                                                            person to coerce, intimidate,
          48.        G, L. c. 151B, § 4 states that it is unlawful for "any

                                                         ise or enj oyment of any right granted to
 threaten, or interfere with another person in the exerc

                                                 151B, § 4(4A) (2018).
 protected by this chapter ..." Mass. Gen, L. c.

                                                                              Haddad was the owner and
           49.       Upon information and belief, at all times relevant, Mi'.

 chief executive officer of Seacoast.

                                                                  Mr. Haddad, on several
           50.       During Mr. Beanpre's employment at Seacoast,

                                                  about Mr, Beaupre's age and its effect on
 occasions, made negative and derogatory comments

 Seacoast's business and financial affairs.

                                                                        Seacoast would no longer
           51 .      Mr. Haddad was the individual that determined that

                                                           insurance plan. Mr. Haddad was also
  cover Mr. Beaupre and his family under Seacoast's health

                                                      a Medicare plan despite Mr. Beaupre's
  the individual that forced Mr. Beaupre to enroll in

  agreement with Seacoast.
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                                                                                       allow Mr.
          52.    Mr. Haddad was the mdividual that deterniined that Seacoast would not

                                                                     agreement with Seacoast.
Beaupreto participate in Seacoasf s401(k) plan despite Mr. Beaupre's

                                                                                       him
          53.    Mr. Haddad was the individual who terminated Mr. Beaupre and replaced

                                                                          Mr, Beaupre \s
with Mr, Haddad's brother-in-law, who was approximately twenty (20) years

junior.

                                                                                           ' s age,
          54.    Mr. Haddad's statements and decisions were solely a result of Mr. Beaupre

          '55.   Accordingly, Mr. Haddad was personally responsible for Seacoast's

discrimination against, and termination of, Mr. Beaupre.

                                                                                          continue
          56.    As a result of Mi*. Haddad's actions, Mr. Beaupre has suffered, and will

to suffer, damages,

                                            COUNT III
                                        (Breach of Contract)
                                         (Against Seacoast)

                                                                                         set forth
           57.   Mr. Beaupre repeats and realleges the foregoing allegations as if fully

herein,

                                                                                      e for his
           58.   Mr. Beaupre and Seacoast entered in an agreement whereby, in exchang

                                                                              0.00 and a
 services, Seacoast agreed; (i) to pay Mr. Beaupre a yearly salary of $110,00

                                                                           above the amount
 commission, rate of two (2) cents per pound for any tonnage sold over and

                                                                                  and his family's
 necessary to cover, on a gross basis, his yearly salary; (ii) to pay Mr. Beaupre

                                                                                  te $11,000,00 per
 health insurance through Seacoast's health insurance plan; and (iii) to contribu

 year to Mr. Beaupre through Seacoast's 401(k) plan.

                                                                                                to
           59.    As stated herein, Seacoast breached its agreement with Mr. Beaupre by failing

                                                                        health insurance plan.
 pay for Mr. Beaupre and ids family's health insurance under Seacoast's
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          60.    Seacoast also breached its agreement with Mr. Beaupre by refusing to allow Mr.

                                                                                          ion.
Beaupre to participate in Seacoast's 401(It) plan and failing to make its yearly contribut

          61 .   Mr. Beaupre has suffered monetary and other damages as a result of Seacoasf s

breach of the agreement.

                                              COUNT IV
                 (Breach of the Implied Covenant of Good Faith and Fair Dealing)
                                          (Against Seacoast)


          62.     Mr. Beaupre repeats and realleges the foregoing allegations as if fully set forth

herein.

          63 .    Immediately prior to his termination, Mr. Beaupre was on the verge of closing

two (2) new accounts on behalf of Seacoast.

          64.     Seacoast did not have access to such accounts prior to Mr. Beaupre 's employment

at Seacoast.


          65.     Such accounts were solely a result of Mi'. Beaupre's efforts during his tenure at

Seacoast.

           66.    Mr. Beaupre was terminated prior to the consummation of the agreements

concerning such accounts.


           67.    Upon information and belief, Seacoast entered into one (1) or more of the

agreements after Mr. Beaupre's termination.


           68.    Accordingly, Mi'. Beaupre's termination was done to deprive Mr. Beaupre of

 commissions that were about to be due to him as upon the closing of such accounts.

           69.    As a result of Seacoast's action, Mr. Beaupre has suffered, and will continue to

 suffer, damages.




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                                    REQUEST FOR RELIEF


        WHEREFORE, Mr. Reanpre respectfully requests that the Court:

        a.     Enter judgment in favor of Mr, Beaupre on all his claims;

        b.     As to Count I, find and rule in favor of Mr. Beaupre on his claim for discrimination

on the basis of age in violation of G. L. c. 15 IB, § 4 against Seacoast;

        c.     As to Count II, find and rale in favor of Mr, Beaupre on his claim for discrimination

on the basis of age in violation of G. L. c. 151B, § 4 against Mr. Haddad;

        d.     As to Count HI, find and rule in favor of Mi'. Beaupre on his claim for breach of

contract against Seacoast;


        e.     As to Count IY, find and rule in favor of Mr. Beaupre on his claim for breach of

the implied covenant of good faith and fair dealing against Seacoast;              .


        f.     Award Mr. Beaupre his damages in an amount to be determined at trial plus interest

and costs;


        g.     Award Mi1. Beaupre his attorneys' fees and costs incurred in bringing this action;

and


        h.      Grant such other relief as the Comf deems meet and proper.

      MR. BEAUPRE DEMANDS A TRIAL BY JURY ON ALL CLAIMS SO TRIABLE
          WHETHER IN THIS COMPLAINT OR ANY AMENDED COMPLAINT




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                                        UB3PECTFULLY SUBMITTED,



                                        MR. ROBERT D. BEAUPRE,



                                        ByJjis^ttomeys,




                                        Thomas H, Cun-an, BBO #550759
                                        tciirran@curranantonelli.com
                                        Zachary J. Gregoricus, BBO #699578
                                        zgregoriciTs@cun'anantonelli.com
                                        Curran Antonelli, LLP
                                        22 Boston Wharf Road
                                        71h Floor
                                        Boston, MA 02210
                                        Telephone: (617) 207-8670
Dated: August275 201 8                  Facsimile: (857) 263-5215




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